 Case 2:20-cv-10181-JFW-MRW Document 1 Filed 11/05/20 Page 1 of 3 Page ID #:1



1    McGLINCHEY STAFFORD
     Brian A. Paino (SBN 251243)
2    Dhruv M. Sharma (SBN 248146)
     18201 Von Karman Avenue, Suite 350
3    Irvine, California 92612
     Telephone: (949) 381-5900
4    Facsimile: (949) 271-4040
     Email:        bpaino@mcglinchey.com
5                  dsharma@mcglinchey.com
6    Attorneys for Defendant            JPMORGAN         CHASE     BANK,     NATIONAL
     ASSOCIATION
7
8                                UNITED STATES DISTRICT COURT
9                CENTRAL DISTRICT OF CALIFORNIA – WESTERN DIVISION
10   AVISHAL PRASAD                                   Case No.:
11                  Plaintiff,
                                                      NOTICE OF REMOVAL OF
12        v.                                          ACTION UNDER 28 U.S.C. § 1441
13   JPMORGAN CHASE BANK, National                    [FEDERAL QUESTION
     Association                                      JURISDICTION]
14
                    Defendant.
15                                                    Superior Court Case No.: 20SMSC01153
                                                      Action Filed: July 16, 2020
16
               TO ALL INTERESTED PARTIES:
17
               PLEASE TAKE NOTICE that, pursuant to 28 U.S.C. §§ 1331, 1441 and 1446,
18
     defendant JPMorgan Chase Bank, National Association (“Chase”) hereby removes the
19
     above-captioned action brought by plaintiff Avishal Prasad (“Plaintiff”) from the
20
     Superior Court of the State of California, in and for the County of Los Angeles (the
21
     “Superior Court”), to the United States District Court for the Central District of
22
     California, on the basis of federal question jurisdiction.
23
     I.        BACKGROUND
24
               1.   On July 16, 2020 Plaintiff commenced an action in the Superior Court
25
     entitled Avishal Prasad v. Chase Bank, N.A., Case Number 20SMSC01153 (the
26
     “Superior Court Action”). A true and correct copy of Plaintiff’s Complaint (the
27
     “Complaint”) is attached hereto as Exhibit A.
28
                                                 1
                                    NOTICE OF REMOVAL OF ACTION
     1632662.1
 Case 2:20-cv-10181-JFW-MRW Document 1 Filed 11/05/20 Page 2 of 3 Page ID #:2



1            2.   Chase was served with the Complaint on October 6, 2020. Pursuant to 28
2    U.S.C. § 1446(b), this notice has been timely filed because it is being filed within 30
3    days of Chase’s receipt of the Complaint.
4            3.   As of the date of this notice, Chase has not filed an answer or otherwise
5    responded to the Complaint. Accordingly, Chase is informed and believes that the
6    Complaint and Standing Order attached hereto as Exhibit A constitutes all process,
7    pleadings, and orders in the Superior Court Action that were served on Chase.
8            4.   The Superior Court has scheduled a trial for February 5, 2021. It has not
9    otherwise scheduled or conducted any hearings as of the date of this notice. A true and
10   correct copy of the Superior Court’s docket in the Superior Court Action is attached
11   hereto as Exhibit B.
12           5.   Pursuant to 28 U.S.C. § 1446(d), Chase will promptly give written notice
13   of the removal of the Superior Court Action to all adverse parties and will file a copy
14   of this notice with the Clerk of Los Angeles County Superior Court.
15   II.     VENUE
16           6.   Pursuant to 28 U.S.C. § 1441(a), the United States District Court for the
17   Central District of California is the proper venue for the removed Superior Court Action
18   because it is the judicial district in which the State Court Action is pending.
19   III.    FEDERAL QUESTION JURISDICTION
20           7.   This action is a civil action over which this Court has original jurisdiction
21   under 28 U.S.C. § 1331 because the Complaint requires a determination as to whether
22   Chase violated “laws…of the United States.” See 28 U.S.C. § 1331. Specifically, the
23   Complaint alleges that Chase violated the Fair Credit Reporting Act, 15 U.S.C. § 1681,
24   et seq. (the “FCRA”). (See Compl., ¶¶ 3(a)). Plaintiff alleges that Chase violated the
25   FCRA by “[r]eporting false and erroneous information” and by “[r]eporting
26   adverse/negative information without a warning notice.” (See id.) By virtue of this
27   claim, the resolution of this action will necessarily require the Court to adjudicate
28   disputed questions of federal law. It follows that Chase may remove the Superior Court
                                                 2
                                  NOTICE OF REMOVAL OF ACTION
     1632662.1
 Case 2:20-cv-10181-JFW-MRW Document 1 Filed 11/05/20 Page 3 of 3 Page ID #:3



1    Action to this court pursuant to the provisions of 28 U.S.C. § 1441. See Beneficial Nat’l
2    Bank v. Anderson, 539 U.S. 1, 6 (2003) (“[A] civil action filed in a state court may be
3    removed to federal court if the claim is one ‘arising under’ federal law”); see also
4    Caterpillar Inc. v. Williams, 482 U.S. 386, 399 (1987).
5            8.   To the extent Plaintiff’s Complaint states causes of action that are not
6    based on federal law, this Court has supplemental jurisdiction. This is because any such
7    claims: (i) arise from the same set of operative facts that underlie Plaintiff’s FCRA
8    claim; and (ii) relate to the same subject matter; namely, Chase’s credit reporting.
9    Accordingly, Plaintiff’s state-law claims, to the extent they exist, are related to
10   Plaintiff’s federal question allegations, thereby forming a part of the same case and
11   controversy pursuant to 28 U.S.C. § 1367(a).
12   IV.     RESERVATION OF RIGHTS
13           9.   Chase reserves the right to supplement this notice when, and if, additional
14   information becomes available. In addition, Chase reserves all rights, including, but not
15   limited to, defenses and objections as to venue, personal jurisdiction, and service. The
16   filing of this notice is subject to, and without waiver of, any such defense or objection.
17           WHEREFORE, Chase prays that the Superior Court Action be removed from
18   the Superior Court to this Court and that this Court assume jurisdiction over – and
19   determine – the action on the merits.
20    DATED: November 5, 2020                  McGLINCHEY STAFFORD
21
                                               By:   /s/ Dhruv M. Sharma
22                                                 DHRUV M. SHARMA
                                                   BRIAN A. PAINO
23                                             Attorneys for Defendant JPMORGAN
                                               CHASE BANK, NATIONAL
24                                             ASSOCIATION
25
26
27
28
                                                 3
                                  NOTICE OF REMOVAL OF ACTION
     1632662.1
